Case 1:18-cv-01296-CMH-IDD Document 38 Filed 05/31/19 Pa OFS Bint rom |
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83.1(D) AND LOCAL
CRIMINAL RULE 57.4
In Case Number 1:18-cv-1296 , Case Name _Ghaisar, et al. v. Alejandro Amaya, et al.

Party Represented by Applicant: Alejandro Amaya f

i —t-L_eE
To: The Honorable Judges of the United States District Court for the Eastern District of Virginia ; og
PERSONAL STATEMENT
A-VIRGINIA

 

 

 

 

 

 

 

FULL NAME (no initials, please) Kobie Alan Flowers eS OTTO
Bar Identification Number 991403 State District of Columbia

Firm Name Brown, Goldstein & Levy, LLP

Firm Phone # 202-742-5969 _____ Direct Dial # 410-962-1030 x1340 FAX # 410-385-0869

 

 

E-Mail Address kflowers@browngald.com
Office Mailing Address 1717 K Street, NW, Suite 900, Washington, DC 20006

Name(s) of federal court(s) in which I have been admitted D.Md., DDC, 4th Cir. DC Circuit

I certify that the rules of the federal court in the district in which I maintain my office extend a similar pro hac vice admission
privilege to members of the bar of the Eastern District of Virginia.

I have not been reprimanded in any court nor has there been any action in any court pertaining to my conduct or fitness as a
member of the bar.

I hereby certify that, within ninety (90) days before the submission of this application, I have read the Local Rules of this Court
and that my knowledge of the Federal Rules of Civil Procedure, the Federal Rules of Criminal Procedure, and the Federal Rules of
Evidence is current.

lam am not * a full-time employee of the United States of America, and if so, request exemption from the admission fee.

Lot

 

(Applicant's Signature)

I, the undersigned, do certify that 1 am a member of the bar of this Court, not related to the applicant; that 1 know the applicant
personally, that the said applicant possesses all of the qualifications required for admission to the bar of this Court; that I have
examined the applicant's personal! statement. | affirm that his/her personal and professional character and standing are good, and

petition the court to admit the applicant pro hac vice.
) } \ 5/27/19
Cc)

 
 
  

 

 
  

ignature) “ (Date)
John F. Hundley 36166

a (Typed or Printed Name) = (VA Bar Number)

 

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Court Use Only: i

 
 

Clerk’s Fee Paid v __ 4 _ Nor Exemption Granted

The motion for admission is GRANTED ff or DENIED __

(udge’s Signature) OO - la 7
